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                   Exhibit M
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE,
DISTRICT OF COLUMBIA, FLORIDA,               Civil Action No. 15-cv-6264
GEORGIA, HAWAII, ILLINOIS,
INDIANA, IOWA, LOUISIANA,                    JURY DEMAND
MARYLAND, MASSACHUSETTS,
MICHIGAN, MINNESOTA, MONTANA,
NEVADA, NEW JERSEY, NEW
MEXICO, NEW YORK, NORTH
CAROLINA, OKLAHOMA, RHODE
ISLAND, TENNESSEE, TEXAS,
VIRGINIA, WISCONSIN

ex rel. Cathleen Forney
Plaintiffs


v. MEDTRONIC, INC.

                 Defendant.




      RELATOR’S OBJECTIONS AND RESPONSES TO DEFENDANT
   MEDTRONIC, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                           DOCUMENTS

        Relator hereby objects and responds to Medtronic’s First Set of Requests for

 Production of Documents served pursuant to Rule 34 of the Federal Rules of Civil

 Procedure.

DOCUMENT REQUEST NO. 1

All Communications with the Government, including but not limited to all Documents
produced or provided to the Government, in connection with or relating to the Pending
Qui Tam Litigation or its allegations, regardless of date.
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RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.

DOCUMENT REQUEST NO. 2

All Documents that You received from anyone, including all Documents that You
received from the Government, in connection with or relating to the Pending Qui Tam
Litigation or its allegations or any investigation by You or the Government of the
allegations in the Pending Qui Tam Litigation, regardless of date.


RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.

DOCUMENT REQUEST NO. 3

All Documents that reflect or relate to any efforts by You to investigate the allegations
in the Pending Qui Tam Litigation, regardless of date. This includes, but is not limited
to, all Documents regarding any Persons, including those currently or formerly
employed by Medtronic, that You contacted in connection with Your efforts and any
Communications with those Persons.
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RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.

DOCUMENT REQUEST NO. 4

All Documents, regardless of date, reflecting Communications among or between the
Relator and any third party, excluding counsel, relating to the Defendant and/or the
Pending Qui Tam Litigation or its allegations.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 5

All Documents cited, quoted, or otherwise referenced in the Complaint, including all
policies, guides, manuals, guidelines, workbooks, or worksheets.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest
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privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 6

All Documents or Communications relating to any employee compensation, reward or
incentive program, commission, or bonus, established or provided by the Defendant, as
alleged in the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.

DOCUMENT REQUEST NO. 7

All Documents or Communication relating to the job specifications, requirements,
and training of any Clinical Specialist, Device Check Specialist, and Sales
Representative.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will
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complete its production, if any, in response to this Request on or before October 6,

2017.

DOCUMENT REQUEST NO. 8

All Documents or Communications relating to any credentialing or background
checks funded by the Defendant, as alleged in the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.

DOCUMENT REQUEST NO. 9

All Documents or Communications relating to any staffing or service provided by the
Defendant to any Medical Provider, including, for example, any analysis, data entry,
documentation, surgical assistance, implant device follow up interrogation or analysis,
device check, remote monitoring, transmission review, patient education, device
programming, scheduling, billing, and insurance correspondence, as alleged in the
Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.
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DOCUMENT REQUEST NO. 10

All Documents or Communications relating to any consulting services provided to
any Medical Provider, including, for example, any reimbursement-related consulting
or practice management consulting, as alleged in the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 11

All Documents or Communications relating to the Defendant’s “‘lean sigma’
training,” as alleged in the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.
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DOCUMENT REQUEST NO. 12

All Documents or Communications relating to the Process Redesign and
Optimization for Cardiovascular Services (PRO/CV) program.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 13

All Documents or Communications relating to any educational or training services
provided to any Medical Provider.


RESPONSE

Relator objects to this Request as overbroad and vague, and to the extent it calls for

attorney-client communications, the work product doctrine, the joint prosecution

privilege, the common interest privilege, or any other applicable privilege, doctrine,

immunity, statute, regulation, rule or restriction. Subject to and without waiving the

foregoing objection, Relator will complete its production, if any, in response to this

Request on or before October 6, 2017.



DOCUMENT REQUEST NO. 14

All Documents or Communications not otherwise produced relating to any alleged
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remuneration or financial benefit the Defendant provided to any Medical Provider,
alleged in the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 15

All Documents reflecting Communications with, about, or involving current or former
employees of Defendants regarding the Pending Qui Tam Litigation or the allegations
in the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 16

All Documents or Communications relating to the Pending Qui Tam Litigation or the
allegations in the Complaint that You took with You or retained when Your
employment with Medtronic ended.
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RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 17

All Documents or Communications relating to your separation from Medtronic,
including but not limited to any agreements with Medtronic.

RESPONSE

Relator objects to this Request as seeking irrelevant information because Relator has

not asserted any employment claims. Relator also objects to the extent it calls for

attorney-client communications, the work product doctrine, the joint prosecution

privilege, the common interest privilege, or any other applicable privilege, doctrine,

immunity, statute, regulation, rule or restriction. Subject to and without waiving the

foregoing objection, Relator will complete its production, if any, in response to this

Request on or before October 6, 2017.



DOCUMENT REQUEST NO. 18

All Documents or Communications that You allege reflect or relate to any false claims
for payment submitted to any Government Health Care Program.
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RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 19

All Documents that You intend to use, whether or not You intend to introduce such
Documents into evidence, at any deposition, hearing, or trial related to the Complaint.

RESPONSE

Relator objects to this Request to the extent it calls for attorney-client communications,

the work product doctrine, the joint prosecution privilege, the common interest

privilege, or any other applicable privilege, doctrine, immunity, statute, regulation, rule

or restriction. Subject to and without waiving the foregoing objection, Relator will

complete its production, if any, in response to this Request on or before October 6,

2017.



DOCUMENT REQUEST NO. 20

All Documents not otherwise requested herein concerning any matter alleged in the

Complaint.

RESPONSE
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Relator objects to this Request as overbroad and vague and to the extent it calls for

attorney-client communications, the work product doctrine, the joint prosecution

privilege, the common interest privilege, or any other applicable privilege, doctrine,

immunity, statute, regulation, rule or restriction. Subject to and without waiving the

foregoing objection, Relator will complete its production, if any, in response to this

Request on or before October 6, 2017.




Respectfully submitted on October 1, 2017
by:

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